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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


  PHARMACYCLICS LLC and
  JANSSEN BIOTECH, INC.,


                             Plaintiffs,
                                               Civil Action No. 19-0434-CFC-CJB
                     V.


  ALVOGEN PINE BROOK LLC and
  NATCO PHARMA LTD.,


                             Defendants.



                                           ORDER

        At Wilmington this 19th day of August in 2021 :

        For the reasons set forth in the Memorandum Opinion issued this day, IT IS

  HEREBY ORDERED that the parties shall submit no later than August 23, 2021

  a proposed order by which the Court may enter final judgment consistent with the

  Opinion issued this day.
